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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                              CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                                 NOTICE OF COMPLETION

         Consistent with the Order Accepting in Part and Rejecting in Part the Amended Case

  Management Plan (ECF 125, at 4), Defendant the United States of America certifies that it

  has made available to Plaintiff all of the Seized Materials as required by that Order.

         Respectfully submitted,

                                              JUAN ANTONIO GONZALEZ
                                              UNITED STATES ATTORNEY

                                              MATTHEW G. OLSEN
                                              Assistant Attorney General

                                              By:    /s/
                                              JAY I. BRATT
                                               Chief
                                              JULIE EDELSTEIN
                                               Deputy Chief
                                              STEPHEN MARZEN
                                               Trial Attorney
                                              Counterintelligence and Export Control Section
                                                     National Security Division
                                              Department of Justice
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 12, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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